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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN



KOLU STEVENS; PATRICK GREENHOE;
and CLAUDETTE GREENHOE,                        HON. PAUL L. MALONEY
                                               U.S. DISTRICT COURT JUDGE
               Plaintiffs,
                                               FILE NO. l:18-cv-00757-PLM-RSK



KIM MEAD, ETAL,

               Defendants.
                                                                       /
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                                  /

       DEFENDANT. KIM MEAD'S MOTION TO DISMISS - ORAL ARGUMENT
                                       REQUESTED


        NOW COMES Defendant, KIM MEAD, by and through his attorneys, CUMMINGS,
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McCLOREY, DAVIS & ACHO, P.L.C., and hereby requests this Honorable Court to grant his

Motion to Dismiss for the reasons stated in the attached Brief in Support.

Dated: September 24,2018                             CUMMINGS, McCLOREY, DAVIS
                                                            & ACHO, P.L.C.

                                                       /s/ Gregory R. Grant
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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN



KOLU STEVENS; PATRICK GREENHOE;
and CLAUDETTE GREENHOE,                        HON. PAUL L. MALONEY
                                               U.S. DISTRICT COURT JUDGE
               Plaintiffs,
                                               FILE NO. 1:18-cv-00757-PLM-RSK



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               Defendants.
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                                  /


     BRIEF IN SUPPORT OF DEFENDANT KIM MEAD'S MOTION TO DISMISS
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                    CONCISE STATEMENT OF ISSUES PRESENTED



I.       WHETHER THIS COURT SHOULD ABSTAIN FROM THIS MATTER PURSUANT
         TO THE YOUNGER ABSTENTION DOCTINE.



II.      WHETHER PLAINTIFFS LACKS STANDING TO BRING CLAIMS UNDER
         ARTICLES III OF THE CONSTITUTION AS THERE IS NO CASE OR
         CONTROVERSY.



III.     WHETHER PLAINTIFFS HAVE FAILED TO EXHAUST ALL REMEDIES.


IV.      WHETHER DEFENDANT MEAD WAS ACTING PURSUANT TO A VALID
         LOCAL ADMINISTRATIVE ORDER ADOPTED BY THE AUTHORITY OF SCAO.


V.        WHETHER PLAINTIFFS' CLAIMS ARE BARRED BY THE ROOKER-FELDMAN
          DOCTRINE.



VI.       WHETHER PLAINTIFFS' AMENDED COMPLAINT FAILS TO SATISFY THE
          MINIMUM, BASIC PLEADING REQUIREMENTS.


VII.      WHETHER DEFENDANT MEAD VIOLATED PLAINTIFFS' FIRST AMENDMENT
          RIGHTS.
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I.     BACKGROUND.

       Plaintiffs Patrick and Claudette Greenhoe have filed the instant Amended Complaint

against Defendant Kim Mead, Administrator for the Bay County Courts. Mr. Mead is employed

by the Bay County Courts as an at-will employee who works under the direction and supervision

of the Chief Judge, who has the authority to appoint a Court Administrator pursuant to MCR

8.110(C)(6). Mr. Mead manages the day-to-day administrative operations of the Bay County

Courts. His duties include staffing of the 18th Circuit Court as well at the 74th District Court and

the Probate Court; budgeting for all Bay County Courts; docket management; jury management;

and assisting the Chief Judge with developing and implementing policies and procedures for all

Court staff. See Affidavit of Kim Mead; attached as Ex. A. The Chief Judge, as well as the

remaining Judges in the Bay County Courts, are responsible for the administration ofthe court and

the judges determine the policies of the courts. Mr. Mead simply implements those policies and

has no authority to deviate from them absent express and explicit authority from the Chief Judge.

Id.


       The Bay County Courts utilized, and on December 16, 2014 adopted, the Michigan State

Court Administrative Office's ("SCAO") Model Local Administrative Order 8, "Access,

Inspection, Reproduction, and Creation of Records" as its own Probate Court LAO 2014-01 J.

That Local Administrative Order ("LAO") was submitted to and approved by the SCAO before it

became effective as required by MCR 8.112(B)(3). In adopting the SCAO's Model LAO, the Chief

Judge opted not to provide access to court recordings, an option available and allowed in the

SCAO's Model LAO 8 as well as MCR 8.119(H)(2)(b).                 Id.   See also ECF No. 2-7;

PageID.72-76 and ECF No. 2-3; PageID.60-63. The SCAO requires all trial courts to enact an
                                                 1
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LAO regarding access, inspection, reproduction and creation of records. Such an LAO is not

optional. See Ex. A. The individual with the authority to select, adopt and sign LAO 20 14-01 J

was Chief Judge Kenneth Schmidt. ECF No. 2-3; PageID.63.

       As stated in the Amended Complaint, Plaintiffs were part of a Bay County Probate Court

case entitled, In re Estate ofJohn Kuflewski, Case No. 14-049781-DE. Plaintiffs state that there

was an adverse outcome. ECF No. 2; PageID.42; ^|9 and 11. In December 2016, Plaintiffs

filed a complaint against the court reporter Joan Van Wormer due to alleged errors made in the

transcript with the Michigan Court Reporting and Recording Board of Review. See Complaint,

attached as Ex. B. That complaint was subsequently investigated. See 2 correspondence

dated 12/13/16, attached as Ex. C. As a result, in March 2017, portions of the transcript were

corrected, in writing. See correspondence and corrected transcript, attached as Ex. D. The

Michigan Court Reporting and Recording Board of Review ultimately dismissed the complaint on

June 22,2017. See correspondence dated June 22,2017, attached as Ex. E.

       Then, in April 2017, apparently dissatisfied with the corrected transcript, Plaintiffs made a

request to Mr. Mead to listen to and obtain copies of recordings of the court proceedings. ECF

No. 2-1; PageID.55-57. Mr. Mead, pursuant to his obligation to follow the policies adopted by

the Bay County Courts, denied the request based on LAO 2014-01 J. ECF No. 2-1; PageID.59.

       Then on May 5, 2017, Plaintiffs filed a lawsuit against Mr. Mead in Bay County Circuit

Court requesting injunctive and declaratory relief for alleged violations of common law right of

access to public records and violation of their First Amendment right of access to judicial records.

See Circuit Court Complaint, attached as Ex. F. In their prayer for relief, Plaintiffs request

that the Circuit Court declare LAO 2014-01J (and by extension the SCAO's Model LAO 8)
                                                 2
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unlawful as violative of the common law right of access and/or the First Amendment. Id. In an

Order dated June 27, 2018, the Circuit Court granted Defendant's Motion for Summary

Disposition and dismissed Plaintiffs' case pursuant to MCR 2.116(C)(4) holding that the court

lacked subject matter jurisdiction. See 6/27/18 Order, attached as Ex. G.

       For the reasons set forth below, Plaintiffs claims against Mr. Mead are completely

groundless and the Amended Complaint should be dismissed with prejudice.

II.    STANDARD OF REVIEW.


       This Motion is brought pursuant to Fed. R. Civ. P. 8(a) and 12(b)(6). Fed. R. Civ. P.

12(b)(6) authorizes the district court to dismiss a complaint that fails to state a claim upon which

relief can be granted. Under Fed. R. Civ. P. 8(a), a complaint need not contain "detailed factual

allegations," but Plaintiffs' obligation to plead grounds entitling them to relief"requires more than

labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do."

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555; 127 S. Ct. 1955 (2007) (citations omitted).

Conclusory statements will not suffice, and only a complaint that states a plausible claim for relief

will survive. Ashcroft v. Iqbal, 556 U.S. 662; 129 S. Ct. 1937,1949-50 (2009) (citing Twombly,

550 U.S. at 555-56); Severe Records, LLC v. Rich, 658 F.3d 571, 578 (6th Cir. 2011).               A

Complaint should be dismissed under Fed. R. Civ. P. 8(a)(2), "where the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct [because] the complaint has

alleged - but it has not 'shown' - that the pleader is entitled to relief." Iqbal, at 1949.

       Furthermore, a document that is integral to a plaintiffs claims may be considered without

converting a motion to dismiss under Fed. R. Civ. P. 12 into one for summary judgment under Fed.

R. Civ. P. 56. Commercial Money Center, Inc. v. Illinois Union Ins. Co., 508 F.3d 327 (6th Cir.
                                                   3
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2007). If public records refute a plaintiffs claim, a defendant may attach those documents to its

motion to dismiss, and a court can then consider them in resolving the Rule 12(b)(6) motion

without converting the motion to dismiss into a Rule 56 motion for summary judgment In re

Omnicare, Inc. Securities Litigation, 169 F.3d 455 (6th Cir. 2014) (citing Weiner v. Klais & Co.,

Inc., 108 F.3d 86,89 (6th Cir. 1997); Commercial MoneyCenter, at 336 (citing Lynch v. Leis, 382

F.3d 642,648 n. 5 (6th Cir. 2004). Any federal court may take judicial notice of the proceedings

in other courts of record. Rodic v. Thistledown Racing Club, Inc., 615 F.2d 736, 738 (6th

Cir.1980), cert, denied, 449 U.S. 996 (1980).

       Rule 12(b)(6) affords defendants an opportunity to test whether, as a matter of law, a

plaintiff is entitled to legal relief even if all the allegations in the complaint are true. Under this

standard,the complaint should be dismissed where it appears that plaintiffcan prove no set offacts

in support of their claim which would entitle him to relief. Mayer v. Mylod, 988 F.2d 635, 638

(6th Cir. 1993).

III.   LEGAL ARGUMENT.

       A.      This Court should abstain from this matter pursuant to the Youneer
               Abstention Doctrine.

       "Federal courts havea strictdutyto exercise thejurisdictionthat is conferred uponthem by

Congress." Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716 (1996). A federal court,

however, may abstain from exercising its jurisdiction in limited circumstances. New Orleans

Pub. Serv. Inc. v. Council ofNew Orleans, 491 U.S. 350, 361-63 (1989). In this case, the Court

should abstain from exercising jurisdiction over Plaintiffs Complaint based on the Younger

abstention doctrine.
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       In Younger v. Harris, the Supreme Court established a doctrine of abstention based on

comity and the principle that state courts should be free to perform their functions without

interference from the federal courts. 401 U.S. 37 (1971). When Younger abstention applies, a

federal district court must either stay or dismiss the action pending resolution of state court

proceedings that involve issues similar to those presented in the federal action. Middlesex Cnty.

Ethics Comm'n v. Garden State Bar Ass'n, 457 U.S. 423,431 (1982). In this instance, dismissal is

warranted. See Coles v Granville, 448 F 3d 853 (6th Cir, 2006).

       In Sprint Communications, Inc. v. Jacobs, the Supreme Court clarified that it is appropriate

for a federal court to abstain and refuse to exercise jurisdiction pursuant to Younger where one of

three exceptional circumstances exists: (1) to prevent federal intrusion into ongoing state

criminal prosecutions; (2) to avoid federal interference with certaincivil enforcement proceedings;

and (3) to refrain from interference with civil proceedings of the state courts' ability to perform

their judicial functions. 134 S. Ct. 584, 591 (2013). The Supreme Court also explained that

three criteria identified in the Middlesex decision are additional elements which may be considered

when determining whether Younger abstention is appropriate. Id. at 593 (citing Middlesex, 457

U.S. at 431) (a federal court should abstain under Younger when a state court proceeding (1) is

currently pending, (2) involves an important state interest, and(3) affordsthe plaintiffan adequate

opportunity to raise constitutional claims); see also Nimer v. Litchfield Twp. Bd. of Trustees, 707

F.3d 699, 701 (6th Cir. 2013).

       This case at hand involves the second and third exceptions.             Plaintiffs initiated

proceedings before the Bay County Courts, which are subject to appeals by Plaintiffs, if they so

choose. Furthermore, Plaintiffs have not alleged that the underlying case of In re Estate ofJohn
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Kuflewski has been closed or dismissed. Conceivably, Plaintiffs could appeal the outcome ofthat

matter. Plaintiffs' current attempt to ask this Honorable Court to interfere with the Bay County

Courts' practice is improper. Thus, this Court should dismiss Plaintiffs' Amended Complaint so

that important issues of state law interpretation can be fully adjudicated in the state system.

        B.      Plaintiffs lack standing to sue under Article III of the Constitution as there
                is no case or controversy.


       The Constitution confers limited authority on each branch of the Federal Government. It

vests Congress with enumerated "legislative Powers," Art. I, § 1; it confers upon the President

"[t]he executive Power," Art. II, § 1, cl. 1; and it endows the federal courts with "[t]he judicial

Power of the United States," Art. Ill, § 1. In order to remain faithful to this tripartite structure, the

powerof the Federal Judiciary may not be permitted to intrude upon the powers given to the other

branches. See DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341, 126 S.Ct. 1854, 164 L.Ed.2d

589 (2006); Lujan v. Defenders of Wildlife, 504 U.S. 555, 559-560, 112 S.Ct. 2130, 119 L.Ed.2d

351 (1992).

        Although the Constitution does not fully explain what is meant by "[t]hejudicial Powerof

the United States," Art. Ill, § 1, it does specify that this power extends only to "Cases" and

"Controversies," Art. Ill, § 2. And " *[n]o principle is more fundamental to the judiciary's proper

role in our systemof government than the constitutional limitationof federal-court jurisdiction to

actual cases or controversies.'" Raines v. Byrd, 521 U.S. 811, 818, 117 S.Ct. 2312, 138 L.Ed.2d

849(1997).

        Standing to sue is a doctrine rooted in the traditional understanding of a case or

controversy. The doctrine developed in our case law to ensure that federal courts do not exceed
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their authority as it has been traditionally understood. See id, at 820,117 S.Ct. 2312. The doctrine

limits the category of litigants empowered to maintain a lawsuit in federal court to seek redress for

a legal wrong. See Valley Forge Christian College v. Americans Unitedfor Separation ofChurch

and State, Inc., 454 U.S. 464, 473, 102 S.Ct. 752, 70 L.Ed.2d 700 (1982); Warth v. Seldin, 422

U.S. 490, 498-499, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). In this way, "[t]he law of Article III

standing ... serves to prevent the judicial process from being used to usurp the powers of the

political branches," Clapper v. AmnestyInt'l USA, 568 U.S. 398 (2013), 133 S.Ct. 1138,1146,185

L.Ed.2d 264 (2013); Lujan, supra, at 576-577,112 S.Ct. 2130 and confines the federal courts to a

properly judicial role, see Warth, supra, at 498,95 S.Ct. 2197.

        Cases have established that the "irreducible constitutional minimum" of standing consists

of three elements. Lujan, 504 U.S., at 560,112 S.Ct. 2130. The plaintiff must have (1) suffered an

injury in fact, (2) that is fairly traceableto the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision. Id., at 560-561,112 S.Ct. 2130; Friends of

the Earth, Inc., 528 U.S., at 180-181, 120 S.Ct. 693. The plaintiff, as the party invoking federal

jurisdiction, bears the burden of establishing these elements. FW/PBS, Inc. v. Dallas, 493 U.S.

215, 231, 110 S.Ct. 596, 107 L.Ed.2d 603 (1990). Where a case is at the pleading stage, the

plaintiffmust"clearly ... allegefacts demonstrating" each element. Warth, supra, at 518, 95 S.Ct.

2197.


        Here, Plaintiffs cannot prove that they suffered an injury in fact or that it is likely to be

redressed by a favorable judicial decision. Plaintiffs have acknowledged that they had access to

the written transcripts of the judicial proceedings. ECF No. 2; PageID.43; f 13. Though

Plaintiffs believed there were errors in the transcripts, they did file a complaint with the Michigan
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Court Reporting and Recording Board ofReview. Ex. B. Subsequently, the errors in the written

transcripts were remedied. Ex. D. Moreover, Plaintiffs do not allege and it does not appear that

Plaintiffs raised the issue ofthe inaccurate trial court transcripts to the Michigan Court of Appeals.

       Production of raw audio is unnecessary and Plaintiffs are not entitled to it under the LAO.

At this point, there remains no case or controversy as the issue has been resolved.

       C.      Plaintiffs have failed to appeal to the Michigan Supreme Court for a writ of
               mandamus or an order of superintending control.

       Plaintiffs had the opportunity to appeal to the Michigan Supreme Court for a writ of

mandamus or an orderof superintending control. Plaintiffs have not alleged that they have done

so and seemingly did not. Therefore, the case must be dismissed for failure to exhaustremedies.

       D.      Defendant was acting pursuant to a valid local administrative order adopted
               bv the authority of the Michigan State Court Administrative Office (SCAO).

       Article VI, Section 4 ofthe Michigan Constitution provides that "[t]he supreme court shall

havegeneral superintending control over all courts." Const 1963, art VI, sec 4. The Supreme Court

shall further "appoint an administrator of the Courts and other assistants of the supreme court as

may be necessary to aid in the administration ofthe courts of this state." Const 1963, artVI sec 3.

The SCAO was created to fulfill this administrative function, with the responsibilities ofthat office

set forth in MCR 8.103, As part of its responsibilities, the SCAO offers management and

assistance and direction to the trial courts on the administration ofthe courts' business by, in part,

distributing Model LAOs such as the one at issue in this case. Finally, the "[e]xclusive authority

to determine the general practice and procedure of courts rests with the Supreme Court." Const.

1963 art VI, sec 5.

        In the case at hand, Plaintiffs have argued that their First Amendment rights have been
                                                  8
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violated because Defendant did his job and followed the Bay County Court's LAO 2014-01 J.

Plaintiffs are essentially requesting that this Court exercise superintending control over the Bay

County Courts. It is clear, however, that the exclusive jurisdiction for such a claim rests solely

with the Michigan Supreme Court. Accordingly, Plaintiffs' case should be dismissed.

              E.      Plaintiffs' claims are barred by the Rooker-Feldman Doctrine.

       Plaintiffs claims are barred by the Rooker-Feldman doctrine, Rooker v. Fidelity TrustCo.,

263 U.S. 413 (1923); District ofColumbia Ct. ofApp. v. Feldman, 460 U.S. 462 (1983), which

"holds that lower federal courts lack subject matter jurisdiction to engage in appellate review of

state court proceedings or to adjudicate claims 'inextricably intertwined' with issues decided in

state court proceedings." Peterson Novelties, Inc. v. City ofBerkley, 305 F.3d 386, 390 (6th Cir.

2002); see also Hutcherson v. Lauderdale Co., Tenn., 326 F.3d 747, 755 (6th Cir. 2003). "The

Rooker-Feldman doctrine prevents thelower federal courts from exercising jurisdiction overcases

brought by 'state-court losers' challenging 'state-court judgments rendered before the district
court proceedings commenced.'" Lance v. Dennis, 546 U.S. 459,460 (2006) (per curiam) (quoting
Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280,284 (2005).

       The Rooker-Feldman doctrine applies "when a plaintiffcomplains of injury from the state

court judgment itself." Coles v. Granville, 448 F.3d 853, 858 (6th Cir. 2006). "In determining the
applicability of the Rooker-Feldman doctrine, federal courts ... must pay close attention to the
relief sought by the federal-court plaintiff." Hood v. Keller, 341 F.3d 593, 597 (6th Cir. 2003}
(internal quotation omitted). "If the source of the injury is that state court decision, then the
Rooker-Feldman doctrine would prevent the district court from asserting jurisdiction. If there is

some other source ofinjury, such asa third party's actions, then the plaintiffasserts anindependent
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claim." McCormick v. Braverman, 451 F.3d 382, 393 (6th Cir. 2006). The doctrine applies to

attempts to relitigate state court judgments entered before the federal suit is filed; it does not

abrogate concurrent jurisdiction in federal and state courts, nor is it analogous to a preclusion

doctrine. Exxon Mobil, 544 U.S. at 292.

       "The Rooker-Feldman doctrine is a rule of federal jurisdiction." Frederickson v. City of

Lockport, 384 F.3d 437, 438 (7th Cir. 2004). When a claim is barred by the Rooker-Feldman

doctrine, a court must dismiss the claim for lack ofjurisdiction. Steel Co. v. Citizensfor a Better

Environment, 523 U.S. 83, 94 (1998).

       As previously noted, Plaintiffs originally filed this case in circuit court and it was

dismissed. They appealed the decision to the Michigan Court of Appeals. It seems now that

Plaintiffs seek to "appeal" the state court loss in this Honorable Court. This Court, however,

lacks jurisdiction to engage in appellate review of state court findings. Thus, this matter must be

dismissed.

       F.      Plaintiffs' Amended Complaint fails to satisfy even the minimum, basic
               pleading requirements.

       Plaintiffs' Amended Complaint is incredibly vague and lacks sufficient information to

form a claim against Defendant. Plaintiffs do not describe with any specificity which transcripts
allegedly have errors or misrepresentations. Defendant cannot determine whether Plaintiffs are
referring to a motion hearing transcript, a transcript from the jury trial, orsome other proceeding.
Plaintiffs offer absolutely no examples as to what errors were transcribed. Instead, Plaintiffs
make a general, unsupported, and conclusory allegation that they "noticed numerous substantial
errors and misstatements in the transcripts." ECF No. 2; PageID.43, f 13. This is simply not

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enough to put Defendant on notice of a claim and, therefore, Plaintiffs have failed to state a claim

upon which relief can be granted.

       G.      Mr. Mead is entitled to qualified immunity as Plaintiffs cannot state a claim
               for a violation of their First Amendment rights.

       Plaintiffs' allegation that their First Amendment rights were violated by Defendant's

failure to produce the raw audio recordings of the court proceedings is completely baseless.

There is no constitutional right of access to these recordings.

       "[Government officials performing discretionary functions are generally shielded from

liability for civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known." Harlow v. Fitzgerald,

257 U.S. 800, 818 (1982). "When a defendant raises a defense of qualified immunity, the

plaintiff bears the burden of demonstrating that the defendant is not entitled to qualified

immunity." Livermore exrel. Rohm v. Lubelan, 476 F.3d 397,403 (6th Cir. 2007).

       The question of an officer's qualified immunity invokes a two-pronged inquiry. "[A]

court must decide whether the facts that a plaintiff has alleged or shown makeup a violation of a

constitutional right." Pearson v. Callahan, 555 U.S. 223,232 (2009).

       Equally, "the court must decide whether the right at issue was 'clearly established' at the

time ofthe defendant's alleged misconduct." Id. A right is "clearly established" only where the

existing case law precedents demonstrate the existence of the right to be "beyond dispute," such

that "every reasonable officer would have understood that what he is doing violates that right."

Mullenix v. Luna,       U.S.      , 136 S. Ct. 305, 308 (2015). Moreover, qualified immunity

covers "mistakes in judgment, whether the mistake is one of fact or one of law." Pearson, 555


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U.S. at 231.


         "The public has a qualified right of access to judicial proceedings and documents, under

both the common law and the First Amendment." In re Search ofFair Fin., 692 F.3d 424,429 (6th

Cir. 2012) (citing Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 10 (1986) ("Press-Enter.

II") (First Amendment right of access to preliminary hearings); Nixon v. Warner Commc'ns, Inc.,

435 U.S. 589, 597-98 (1978) (common-law right of access to judicial documents)).

         However, Defendant is unaware of any binding authority establishing a First Amendment

right to access the raw audio recordings made by court recorders of court proceedings. Plaintiffs

have admitted that they had access to and gained possession of the written transcripts of various

court proceedings. ECF No. 2; PageID.43; ^[13. It is clear that the Bay County Court policy at

issue was implemented pursuant to SCAO oversight and the Michigan Court Rules. Moreover,

Plaintiffs acknowledge that they were parties to the underlying probate case ofIn re Estate ofJohn

Kuflewski in Bay County.      ECF No. 2; PageID.42; f9.       Thus, they had full access to all

proceedings that occurred and to all ofthe court records consistent with the Michigan Court Rules

and the court's LAOs. Plaintiffs cannot prove a violation of any established First Amendment

right.

         Furthermore, in the Bay County Courts, the Chief Judge and other judges are responsible

for the administration of the court and they determine the policies of the courts. Mr. Mead simply

implements those policies and has no authority to deviate from them absent express and explicit

authority from the Chief Judge. Ex. A. As a consequence, this case should be dismissed.




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IV.    RELIEF REQUESTED.


       In light of the above arguments, Defendant Kim Mead respectfully requests that this

Honorable Court grant his Motion to Dismiss and enter an order dismissing this matter with

prejudice.

Dated: September 24,2018                        CUMMINGS, McCLOREY, DAVIS
                                                       & ACHO, P.L.C.

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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN



KOLU STEVENS; PATRICK GREENHOE;
and CLAUDETTE GREENHOE,                     HON. PAUL L. MALONEY
                                            U.S. DISTRICT COURT JUDGE
               Plaintiffs,
                                            FILE NO. 1:18-CV-00757-PLM-RSK



KIM MEAD, ETAL,                             PROOF OF SERVICE


               Defendants.
                                                                    /
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                                 /
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                               PROOF OF SERVICE


STATE OF MICHIGAN                      )
                                       )ss.
COUNTY OF GRAND TRAVERSE               )

    Laurie Robbins, being duly sworn, deposes and says that she served DEFENDANT KIM
MEAD'S MOTION TO DISMISS; BRIEF IN SUPPORT OF DEFENDANT KIM MEAD'S
MOTION TO DISMISS with EXHIBITS A - G; CERTIFICATE OF CONCURRENCE and
PROOF OF SERVICE, by ECF filing to the following individuals listed below on September
24,2018:

VIA ECF ONLY TO:


Philip L. Ellison
OUTSIDE LEGAL COUNSEL, PLC

Meredith Rose Beidler
John G. Fedynsky
MICHIGAN DEPARTMENT OF ATTORNEY GENERAL

Clerk of the Court
WESTERN DISTRICT COURT OF MICHIGAN

                                                 Amll(^
                                              Laurie Robbins
